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              United States Court of Appeals
                             For the First Circuit

No. 25-1257

                                    KAREN READ,

                                  Petitioner - Appellant,

                                            v.

    NORFOLK COUNTY SUPERIOR COURT; ANDREA J. CAMPBELL, Massachusetts
                           Attorney General,

                                Respondents - Appellees.


                                      MANDATE

                                 Entered: April 18, 2025

       In accordance with the judgment of March 27, 2025, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                          By the Court:

                                          Anastasia Dubrovsky, Clerk


cc:
Thomas E. Bocian
Alan J. Jackson
Michael Francis Pabian
Caleb J. Schillinger
Martin G. Weinberg
David Ronald Yannetti
